                Case 22-11068-JTD            Doc 1794        Filed 06/28/23        Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Ref. Nos. 1106, 1107, 1108, 1110, 1111, 1112,
                                                             1113, 1114, 1115, 1116, 1117, 1663 & 1725

         FIRST OMNIBUS ORDER APPROVING INTERIM FEE APPLICATIONS
              OF THE DEBTORS’ AND COMMITTEE’S PROFESSIONALS

         Upon consideration of the interim fee applications of the professionals retained by the

above captioned debtors and debtors-in-possession (collectively, the “Debtors”) and the Official

Committee of Unsecured Creditors (the “Committee”) in the above-captioned chapter 11 cases

(collectively, the “Professionals”), 2 a list of which is attached hereto as Exhibit 1 (collectively,
                                        1F




the “Fee Applications”), for allowance of compensation and reimbursement of expenses for the

period set forth on each of the Fee Applications filed pursuant to the Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals [D.I.

435] and the Order (I) Appointing Fee Examiner and (II) Establishing Procedures for

Consideration of Requested Fee Compensation and Reimbursement of Expenses [D.I. 834]; and

upon the Fee Examiner’s Summary Report on Fee Review Process and First Interim Fee

Applications Scheduled for Uncontested Hearing on June 28, 2023 [D.I. 1663]; and it appearing

to the Court that all of the requirements, as applicable, of sections 327, 328, 330, 331 and 503(b)

1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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    Terms utilized but not otherwise defined herein shall have the meanings ascribed to them in the Fee
    Applications.




{1368.002-W0071338.2}
                Case 22-11068-JTD        Doc 1794     Filed 06/28/23      Page 2 of 3




of title 11 of the United States Code (as amended or modified, the “Bankruptcy Code”), as well

as rule 2016 of the Federal Rules of Bankruptcy Procedure and rule 2016-2 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware, have been satisfied; and it further appearing that the expenses incurred were

reasonable and necessary; and that notices of the Fee Applications were appropriate; and after

due deliberation and sufficient good cause appearing therefor;

                  IT IS HEREBY ORDERED THAT:

                  1.      The Fee Applications are hereby APPROVED in the amounts set forth on

Exhibit 1 attached hereto.

                  2.     The Fee Applications are granted on an interim basis in the respective

amounts set forth as approved on Exhibit 1 hereto, including any and all holdbacks.

                  3.     The Debtors are authorized to remit payment to each of the Professionals

in the amounts set forth on Exhibit 1, less any monies previously paid on account of such fees

and expenses.

                  4.     All fees and expenses allowed herein shall be subject to final allowance by

the Court without regard to whether such amounts have been paid to the Professionals.

                  5.     This Order shall be deemed a separate order with respect to each of the

Fee Applications.       Any stay of this Order pending appeal with respect to any one of the

Professionals shall only apply to the particular Professional that is subject to such appeal and

shall not operate to stay the applicability and/or finality of this Order with respect to any other of

the Professionals.




{1368.002-W0071338.2}                             2
              Case 22-11068-JTD         Doc 1794     Filed 06/28/23     Page 3 of 3




               6.      This Court shall retain jurisdiction to hear and determine any and all

matters arising from or related to the interpretation or implementation of this Order.




       Dated: June 28th, 2023                            JOHN T. DORSEY
       Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




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